                  Case 01-01139-AMC                         Doc 20005-3     Filed 11/12/08          Page 1 of 4


                                   IN THE UNITED STATES BANUPTCY COURT

                                             FOR THE DISTRICT OF DELAWAR

Inre:                                                            )        Chapter 11
                                                                 )
W. R. GRACE & CO., et al.,1                                      )        Case No. 01-01139 (JK)
                                                                 )        Jointly Administered
                           Debtors.                              )



                                                      AFFIDAVIT OF SERVICE


                           Lyny Oberholzer, being duly sworn according to law, deposes and says that she

is employed by the law firm of                    Pachulski Stang Ziehl & Jones LLP, co-counsel for the Debtors

in the above-captioned action, and that on the iih day of                      November, 2008, she caused a copy of

the following document to be served upon the attached service list in the maner indicated:




1 The Debtors consist of
                                 the following 62 entities: W. R. Grace & Co. (f/a Grace Specialty Chemicals, Inc.), W. R. Grace &
Co.-Conn., A-I Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon, Inc., CB Biomedical, Inc. (f/a
Circe Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc., Coalgrace II, Inc., Creative Food 'N Fun Company, Darex Puerto Rico,
Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC (f/a Dewey and Almy Company), Ecarg, Inc., Five Alewife Boston
Ltd., G C Limited Parers I, Inc. (f/a Grace Cocoa Limited Parers I, Inc.), G C Management, Inc. (f/a Grace Cocoa
Management, Inc.), GEC Management Corporation, GN Holdings, Inc., GPC Thomasvile Corp., Gloucester New Communities
Company, Inc., Grace A-B Inc., Grace A-B II Inc., Grace Chemical Company of Cuba, Grace Culinar Systems, Inc., Grace
Dnlling Company, Grace Energy Corporation, Grace Environmental, Inc., Grace Europe, Inc., Grace H-G Inc., Grace H-G II
Inc., Grace Hotel Services Corporation, Grace International Holdings, Inc. (f/a Dearborn International Holdings, Inc.), Grace
Offshore Company, Grace PAR Corporation, Grace Petroleum Libya Incorporated, Grace Taron Investors, Inc., Grace Ventures
Corp., Grace Washington, Inc., W. R. Grace Capital Corporation, W. R. Grace Land Corporation, Gracoal, Inc., Gracoal II, Inc.,
Guanica-Carbe Land Development Corporation, Hanover Square Corporation, Homco International, Inc., Kootenai
Development Company, L B Realty, Inc., Litigation Management, Inc. (f/a GHSC Holding, Inc., Grace NH, Inc., Asbestos
Management, Inc.), Monolith Enterpnses, Incorporated, Monroe Street, Inc., MRA Holdings Corp. (f/a Nestor-BNA Holdings
Corporation), MRA Intermedco, Inc. (f/a Nestor-BNA, Inc.), MRA Staffing Systems, Inc. (f/a Bntish Nursing Association,
Inc.), Remedium Group, Inc. (f/a Environmental Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming,
Inc.), Southern Oil, Resin & Fiberglass, Inc., Water Street Corporation, Axial Basin Ranch Company, CC Parers (f/a Cross
Countr Staffing), Hayden-Gulch West Coal Company, H-G Coal Company.




91100-001\DOCS_DE:127906.79
              Case 01-01139-AMC       Doc 20005-3     Filed 11/12/08    Page 2 of 4




              Seventy-Sixth Monthly Application of BMC Group for Compensation for
              Services Rendered and Reimbursement of Expenses as Claims Reconcilation
              and Solicitation Consultant to the Debtors for the Period from July 1, 2008
              through July 31,2008.




                                      ~~~
Notar Public
My Commission




91100-001\DOCS_DE:1Z7906.79                     2
            Case 01-01139-AMC         Doc 20005-3      Filed 11/12/08                Page 3 of 4


Grace Fee Application Service List                  Federal Express and E-mail:
Case Number: 01-1139 (JK)                           william.svarks(à1!race.com
Document Number: 45804                              (W.R. Grace & Co.)
01 - Hand Delivery                                  Mark Shelntz
02 - Federal Express                                W.R. Grace and Co.
10- E-Mail                                          7500 Grace Drive
                                                    Columbia, MD 21044

(Counsel to Debtors and Debtors in                  E-mail: m!lassman(àbavardfirm.com
Possession)                                         (Local Counsel to DIP Lender)
Laura Davis Jones, Esquire                          Neil Glassman, Esquire
James E. O'Neil, Esquire                            The Bayard Firm
Pachulski Stang Ziehl & Jones LLP
919 North Market Street, 17th Floor                 E-mail: meskin(à¡Jel.camlev.com
P.O. Box 8705                                       (Local Counsel to Asbestos Claimants)
Wilmington, DE 19899-8705                           Marla Eskin, Esquire
                                                    Campbell & Levine, LLC
(Parcels)
Vito i. DiMaio                                      E-mail: Uacconelli(ferrviosevh.com
Parcels, Inc.                                       (Counsel for Property Damage Claimants)
10th & King Streets                                 Theodore Tacconell, Esquire
P.O. Box 27                                         Ferry & Joseph, P.A.
Wilmington, DE 19899
                                                    E-mail: mlastowski(à¡Juanemorris.com
Hand Delivery                                       (Counsel to Offcial Committee of
(United States Trustee)                             Unsecured Creditors)
David Klauder, Esquire                              Michael R. Lastowski, Esquire
Office of the United States Trustee                 Duane, Morrs & Heckscher LLP
844 King Street, Room 2311
Wilmington, DE 19801                                E-mail: currier(klettroonev.com
                                                    (Counsel for Official Committee of              Equity
Federal Express                                     Holders)
(Fee Auditor)                                       Teresa K.D. Curer, Esquire
Waren H. Smith                                      Klett Rooney Lieber & Schorling
Waren H. Smith & Associates
Republic Center                                     E-mail: vvnl(à.eavdale.com
325 N. St. Paul                                     (Official Committee of               Personal Injur
Suite 1275                                          Claimants)
Dallas, TX 75201                                    Elihu Inselbuch, Esquire
                                                    Caplin & Drysdale, Charered
          Case 01-01139-AMC         Doc 20005-3   Filed 11/12/08   Page 4 of 4


E-mail: isakalo(bilzin.com
(Offcial Committee of   Property Damage
Claimants)
Scott L. Baena, Esquire
Bilzin Sumberg Dun Baena Price &
Axelrod LLP

E-mail: caroLhennessevCJw.com
(Counsel to DIP Lender)
David S. Heller, Esquire
Latham & Watkins

E-mail: DbentlevCkramerlevin.com
(Counsel to Official Committee of Equity
Holders)
Philip Bentley, Esquire
Kramer Levin Naftalis & Franel LLP
